                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS

JANE DOE 1, JANE DOE 2,                        §
JANE DOE 3, JANE DOE 4,                        §
JANE DOE 5, JANE DOE 6,                        §
JANE DOE 7, JANE DOE 8,                        §
JANE DOE 9, AND JANE DOE 10                    §   Cause No. 4:18-MC-2603
                                               §
                      Plaintiffs,              §
                                               §
vs.                                            §
                                               §
BAYLOR UNIVERSITY                              §
                                               §
                      Defendant.               §


______________________________________________________________________________

                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   WACO DIVISION

JANE DOE 1, JANE DOE 2,                        §
JANE DOE 3, JANE DOE 4,                        §
JANE DOE 5, JANE DOE 6,                        §
JANE DOE 7, JANE DOE 8,                        §
JANE DOE 9, AND JANE DOE 10                    §   Cause No. 6:16-cv-173-RP
                                               §   JURY TRIAL DEMANDED
                      Plaintiffs,              §
                                               §
vs.                                            §
                                               §
BAYLOR UNIVERSITY                              §
                                               §
                      Defendant.               §

 PLAINTIFFS’ RESPONSE TO NON-PARTIES/RESPONDENTS BILL BAILEY AND
      THE CENIKOR FOUNDATION’S MOTION TO MODIFY SUBPOENA

TO THE HONORABLE JUDGE OF SAID COURT:

       COME NOW JANE DOES 1-10, Plaintiffs in Cause No. . 6:16-cv-173-RP-JCM (pending in

the Western District of Texas, Waco Division), and file this Response to Non-Parties/Respondents

Bill Bailey and The Cenikor Foundation’s Motion To Modify Subpoena. (ECF 1). In support thereof,
                                               1
Plaintiffs would show the honorable Court as follows:

       Following the filing of Cenikor’s Motion to Modify Subpoena, the parties were able to confer

regarding document production and timing. Cenikor served responses to Plaintiffs’ subpoena duces

tecum on October 8, 2018, rendering the complaint regarding time for compliance moot. Plaintiffs

are in the process of reviewing the responses and documents received. At this time, there is no need

for Court intervention. Plaintiffs will file a Motion to Compel should they determine that such is

necessary once review of production has been completed.

                                         CONCLUSION

       For the foregoing reasons, Plaintiffs request that the Court deny Cenikor’s Motion as moot.

                                              Respectfully submitted,

                                               /s/ Chad W. Dunn
                                              BRAZIL & DUNN, L.L.P.
                                              Chad W. Dunn
                                              State Bar No. 24036507
                                              K. Scott Brazil
                                              State Bar No. 02934050
                                              4201 Cypress Creek Pkwy., Suite 530
                                              Houston, Texas 77068
                                              Telephone: (281) 580-6310
                                              Facsimile: (281) 580-6362
                                              chad@brazilanddunn.com

                                              AND

                                              DUNNAM & DUNNAM, L.L.P.
                                              Jim Dunnam
                                              State Bar No. 06258010
                                              4125 West Waco Drive
                                              Waco, Texas 76710
                                              Telephone: (254) 753-6437
                                              Facsimile: (254) 753-7434
                                              jimdunnam@dunnamlaw.com

                                              ATTORNEYS FOR PLAINTIFFS




                                                 2
                                CERTIFICATE OF SERVICE

      This is to certify that a true and correct copy of the above and foregoing has been filed by
ECF and sent to counsel of record via electronic notification on October 9, 2018.

                                             /s/Chad W. Dunn
                                             CHAD W. DUNN




                                                3
